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  UNITED STATES BANKRUPTCY COURT
  Southern District of New York

                                                    )
   In re                                            )     Chapter 11
                                                    )
     Garrett Motion Inc., et al.,                   )     Case No 20-12212
           Debtors.                                 )     (Jointly Administered)
                                                    )


                      STATEMENT OF FINANCIAL AFFAIRS FOR

                                    Garrett Motion Inc.

                                    Case No: 20-12212
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                                            SOUTHERN DISTRICT OF NEW YORK
Garrett Motion Inc.
Case Number: 20-12212

GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND DISCLAIMER REGARDING
DEBTOR'S SCHEDULES AND STATEMENTS
GLOBAL NOTES
The Schedules of Assets and Liabilities (collectively, the "Schedules") and the Statements of Financial Affairs (collectively, the "Statements" and,
together with the Schedules, the "Schedules and Statements") filed by Garrett Motion Inc. ("GMI") and its three affiliated debtors (each, a "Reporting
Debtor") in these jointly administered chapter 11 cases in the United States Bankruptcy Court for the Southern District of New York (the "Bankruptcy
Court") have been prepared pursuant to section 521 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the "Bankruptcy Code") and Rule
1007 of the Federal Rules of Bankruptcy Procedure by management of the Reporting Debtors with the assistance of their court-appointed advisors
and are unaudited. Although management has made reasonable efforts to ensure that the Schedules and Statements are accurate and complete
based on information that was available to them at the time of preparation, subsequent information or discovery may result in material changes, and
inadvertent errors or omissions may exist. The Schedules and Statements contain unaudited information, which is subject to further review and
potential adjustment, and there can be no assurance that the Schedules and Statements are complete. Furthermore, nothing contained in the
Schedules and Statements shall constitute a waiver of any rights with respect to the Reporting Debtors’ chapter 11 cases (the "Chapter 11 Cases"),
including, but not limited to, issues involving substantive consolidation, equitable subordination and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid transfers. These Global Notes should be referred
to in connection with any review of the Schedules and Statements.

Description of the Chapter 11 Cases. On September 20, 2020 (the "Petition Date"), each of the Reporting Debtors filed voluntary petitions for relief
under chapter 11 of the Bankruptcy Code. Each Reporting Debtor’s fiscal year ends on December 31. Unless otherwise noted, information regarding
assets contained in the Schedules and Statements is as of September 30, 2020, and information regarding liabilities is as of the Petition Date. All
other information is as of the Petition Date, unless otherwise indicated.

History of the Reporting Debtors. GMI was formed as an independent company on October 1, 2018 when it was spun-off from Honeywell International
Inc. ("Honeywell"). Equity interests in mostly pre-existing entities (and their respective assets and liabilities) were transferred from Honeywell to
certain of the Reporting Debtors and their subsidiaries in the spin-off. The Reporting Debtors may not have received supporting detailed information
during the spin-off and have prepared information regarding assets, liabilities and responses using the best information available to them.

Basis of Presentation. GMI is a publicly held corporation. For financial reporting purposes, GMI prepares consolidated financial statements and is
audited annually. Unlike the consolidated financial statements, these Schedules and Statements reflect stand-alone assets and liabilities of each
separate Reporting Debtor. Certain affiliates of the Reporting Debtors are also debtors under chapter 11 cases that are being jointly administered with
the Chapter 11 Cases, but have not filed schedules and statements at this time. These Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles nor are they intended to reconcile to the financial statements filed
by GMI and its subsidiaries with the U.S. Securities and Exchange Commission ("SEC").

Excluded Liabilities. The Reporting Debtors have excluded certain liabilities from presentation on the Schedules and Statements, including accrued
liabilities, accrued salaries and employee benefits, tax accruals and accrued accounts payable. Liabilities resulting from accruals and/or estimates of
long-term liabilities either are not payable at this time or have not been substantiated under the Reporting Debtors’ normal procedures and therefore
do not represent specific identifiable claims against the Reporting Debtors as of the date of this report.

Undetermined Amounts. The description of an amount as "unknown" or "undetermined" is not intended to reflect upon the materiality of such amount.

Market Value of Assets. It would be unduly burdensome and an inefficient use of estate assets for the Reporting Debtors to obtain current market
valuations of their assets. Accordingly, unless otherwise indicated, the Schedules and Statements reflect net book values for assets as of September
30, 2020. Amounts ultimately realized may vary from net book value and such variance may be material.

Totals. To the extent there are unknown or undetermined amounts listed in the Schedules and Statements, the actual total may be different than the
listed total, which includes known amounts only.

Amendment. The Reporting Debtors reserve all rights to amend and/or supplement the Schedules and Statements as is necessary and appropriate.

Schedules of Assets & Liabilities

Cash and Investments. Bank account cash reported on Schedule A/B represents balances as of the Petition Date. Certain other assets, such as
investments in subsidiaries and other intangible assets, are listed at undetermined amounts because net book value may not be representative of fair
market value.

Deposits, including security deposits and utility deposits. Retainers expected to be applied to fee applications in the Chapter 11 Cases have been
excluded.

Intercompany Accounts. The Reporting Debtors participate in a centralized cash management system through which certain payments were made by
one entity on behalf of another or through which certain customer collections are made by one entity and transferred to another. These payments have
generally been reported on the Schedules of the Reporting Debtor that actually made the payment or received the customer collection. Intercompany
balances on Schedule A/B and Schedule E/F account for the necessary transfer of intercompany assets and liabilities between entities.

Interest in Subsidiaries and Affiliates. Schedule A/B Part 4 contains a listing of the current capital structure of the Reporting Debtors, debtors under
jointly administered chapter 11 cases, and non-debtor subsidiaries and affiliates, and includes ownership interests in any related affiliates.
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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND DISCLAIMER REGARDING
DEBTOR'S SCHEDULES AND STATEMENTS
Tax refunds and unused net operating losses (NOLs). GMI is the parent of the US tax group, of which each Reporting Debtor is a member. The US
tax group is carrying an NOL and R&D tax credit which may have value to each member entity.

Contingent Assets. The Reporting Debtors may not have set forth all causes of action against third parties as assets in their Schedules and
Statements. The Reporting Debtors reserve all of their rights with respect to any claims, counter claims, causes of action or avoidance actions they
may have and nothing contained in these Global Notes or the Schedules and Statements shall be deemed a waiver of any such claims, avoidance
actions or causes of action, or in any way prejudice or impair the assertion of such claims.

Classifications. Placement of a claim on Schedule D or E/F or listing a contract on Schedule G does not constitute an admission by the Reporting
Debtor of the legal rights of the claimant, or a waiver of the Reporting Debtor’s right to recharacterize or reclassify such claim or contract, including by
amending the Schedules and Statements.

Schedule D - Creditors Holding Secured Claims. The Reporting Debtors reserve all rights to dispute or challenge the secured nature of any creditor’s
claim or the characterization of the structure of any transaction or any document or instrument (including, without limitation, any intercompany
agreement) related to any creditor’s claim. Amounts in foreign currencies were translated to USD based on exchange rate on the Petition Date.

Although multiple parties participate in the Reporting Debtors’ prepetition secured credit facility and hold senior notes, only the administrative agent or
indenture trustee has been listed for purposes of Schedules D and E/F. The amounts included reflect principal owed under the secured credit facility.

Schedule E/F - Creditors Holding Unsecured Priority Claims. As of the Petition Date, the Reporting Debtors are not aware of any unsecured priority
amounts owed. Certain taxing authorities are listed at an undetermined amount. Pursuant to orders approved by the Bankruptcy Court, the Reporting
Debtors believe they have the authority to satisfy any prepetition obligations to taxing authorities and that any unpaid obligations have been or will be
satisfied.

Schedule E/F - Creditors Holding Unsecured Nonpriority Claims. Claims for, among other things, products, goods or services are listed as either the
lower of the amount invoiced or the amount entered on the Reporting Debtors’ books and records, and may not reflect credits or allowances. The
Reporting Debtors reserve all rights with respect to any credits and allowances, including the right to assert claims objections and/or setoffs with
respect to same. The claims listed in Schedule E/F arose or were incurred on various dates. In certain instances, the date on which a claim arose is
an open issue of fact. The Reporting Debtors do not list a date for each claim listed on Schedule E/F.

Amounts paid under the first and second day orders approved by the Bankruptcy Court since the Petition Date have been deducted to the extent that
such payment information was recorded in the Reporting Debtors’ books and records as of October 25, 2020. The Reporting Debtors hereby expressly
reserve any and all rights to amend or revise the information set forth above and expect further payments to be made under first and second day
orders.

Amounts reflected under the senior notes include principal and accrued and unpaid interest as of the Petition Date.

Designations. The Reporting Debtors reserve the right to dispute any claim reflected on their Schedules or Statements on any grounds, including, but
not limited to, amount, liability or classification, or to otherwise subsequently designate such claims as "disputed," "contingent" or "unliquidated."

Schedule G - Unexpired Leases and Executory Contracts. Schedule G contains the Reporting Debtors’ contracts and agreements as of the Petition
Date. Every effort has been made to ensure the accuracy of Schedule G, however inadvertent errors, omissions or overinclusion may have occurred.
The Reporting Debtors reserve all of their rights to dispute the validity, status or enforceability of any contract or other agreement set forth in Schedule
G and to amend or supplement such Schedule as necessary. Some of the contracts, agreements and leases listed on Schedule G may have expired
or may have been modified or amended. The inclusion of a contract or agreement on Schedule G does not constitute an admission by the Reporting
Debtors that such contract or agreement is an executory contract or unexpired lease. Certain of the executory contracts may not have been
memorialized and could be subject to dispute.

In certain instances where the party is "GMI" or where the party is unable to be definitively determined, the Reporting Debtors have listed such
contracts and agreements on the Schedule G of GMI. If multiple Reporting Debtors are parties to a given contract or agreement, that contract or
agreement will be listed for each Reporting Debtor named. Additionally, in the spin-off from Honeywell, a number of executory contracts were
assigned to the Reporting Debtors, which contracts are listed on Schedule G. While the contract documents may not reflect a Reporting Debtor
counterparty on their face, on information and belief, the Reporting Debtors are party to such contracts.

The Reporting Debtors have not listed individually engagement letters for retained professionals, confidentiality agreements, non-disclosure
agreements, non-compete agreements, and confidential agreements.

Schedule H - Codebtors. Schedule H reflects guaranties by various Reporting Debtor and non-Reporting Debtor affiliates of obligations primarily
vested in other related affiliates. Where guaranties have been identified, they have been included in the relevant Schedule for the Reporting Debtor or
Reporting Debtors affected by such Guaranties. The Reporting Debtors have placed Guaranty obligations on Schedule H for both the primary obligor
and the guarantor of the relevant obligation. Such Guaranties were additionally placed on Schedule D or E/F or G for each guarantor. The Reporting
Debtors may not have identified certain guaranties that are embedded in the Reporting Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements.

Statements of Financial Affairs.
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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND DISCLAIMER REGARDING
DEBTOR'S SCHEDULES AND STATEMENTS
Questions 3, 4, and 30 - Payments to Certain Creditors. The Reporting Debtors maintain a centralized cash management system through which
payments are made on behalf of certain Reporting Debtor affiliates as further explained in the Reporting Debtors’ Cash Management Motion.
Consequently, certain payments listed in response to Questions 3, 4, and 30 may reflect payments made by a Reporting Debtor on behalf of another
Reporting Debtor as described in the Cash Management Motion. The Reporting Debtors have excluded ordinary course intercompany transfers and
ordinary course salaries, wages, related allowances and benefits from their response to Question 4.

The Reporting Debtors have responded to Question 3 in detailed format by creditor. The response does not include transfers to bankruptcy
professionals (which transfers appear in response to Part 6, Question 11) or any ordinary course compensation of individuals, insider or otherwise,
from salaries, wages, or related allowances.

The Reporting Debtors have responded to Questions 4 and 30 in detailed format in the attachment for Question 4. To the extent: (i) a person qualified
as an "insider" in the year prior to the Petition Date, but later resigned their insider status or (ii) did not begin the year as an insider, but later became
an insider, the Reporting Debtors have listed in response to Question 4 all payments made during the 12-month period, irrespective of when such
person was defined as an insider. The dates recorded for the vesting of employee restricted stock units may differ from the actual vesting date given
that the employee restricted stock units are shown as recorded on the dates of the payrolls within which the income was recorded.

Any non-cash distributions including Restricted Units and Stock Options are valued in accordance with the applicable Reporting Debtors’ policies for
taxable value.

Question 11 - The response to Question 11 identifies payments made related to bankruptcy, including to professionals the Reporting Debtors have
retained or will seek to retain under section 327 of the Bankruptcy Code. Although the Reporting Debtors have made reasonable efforts to distinguish
between payments made for professional services related and unrelated to their restructuring efforts, some amounts listed in response to Question 11
may include payments for professional services unrelated to bankruptcy.

Question 25 - The list provided in response to this question identifies the businesses for which the Reporting Debtor was an owner, partner, member
or otherwise a person in control since the spin-off transaction from Honeywell on October 1, 2018.

Question 26 - Pursuant to the requirements of the Securities Exchange Act of 1934, as amended, GMI has filed with the SEC reports on Form 8-K,
Form 10-Q, and Form 10-K. These SEC filings contain consolidated financial information relating to the Reporting Debtors and non-Reporting Debtors.
In addition, the Reporting Debtors provide certain parties, such as banks, auditors, potential investors, vendors, and financial advisors, with financial
statements that may not be part of a public filing. The Reporting Debtors do not maintain detailed records tracking such disclosures. Therefore, the
Reporting Debtors have not provided lists of these parties.
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    Part 1:          Income

1. Gross Revenue from business
       None

  Identify the Beginning and Ending Dates of the Debtor’s Fiscal Year,       Sources of Revenue                 Gross Revenue
  which may be a Calendar Year                                               (Check all that apply)             (Before Deductions and
                                                                                                                Exclusions)

                             From                    to                          Operating a business
                                      MM/DD/YYYY           MM/DD/YYYY            Other




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    Part 1:       Income

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money
collected from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed
in line 1.
      None

                                                                       Description of Sources of Revenue          Gross Revenue
                                                                                                              (Before Deductions and
                                                                                                                    Exclusions)

                          From                 to
                                  MM/DD/YYYY        MM/DD/YYYY




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      Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
      None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.1    ABRAMS & BAYLISS LLP                                          7/7/2020            $10,954          Secured debt
       20 MONTCHANIN ROAD, SUITE 200                                                                      Unsecured loan repayment
       WILMINGTON, DE 19807                                          8/4/2020             $2,091
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                             TOTAL ABRAMS & BAYLISS LLP                  $13,045

3.2    ANDERSEN TAX, LLC                                            8/18/2020            $14,986          Secured debt
       333 BUSH STREET, SUITE 1700                                                                        Unsecured loan repayment
       SAN FRANCISCO, CA 94104                                      8/24/2020            $44,620
                                                                                                          Suppliers or vendors
                                                                     9/9/2020            $15,150          Services
                                                                                                          Other



                                                TOTAL ANDERSEN TAX, LLC                  $74,756

3.3    AUDITBOARD INC                                                9/9/2020           $130,000          Secured debt
       12800 CENTER COURT DR S, SUITE 100                                                                 Unsecured loan repayment
       CERRITOS, CA 90703                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                   TOTAL AUDITBOARD INC                 $130,000

3.4    BAKER & MCKENZIE ABOGADOS, S.C.                              8/11/2020            $36,422          Secured debt
       PT DE LA REPUBLICA NO. 3304, PISO 1                                                                Unsecured loan repayment
       CD. JUAREZ, CHI 32330                                                                              Suppliers or vendors
       MONTENEGRO                                                                                         Services
                                                                                                          Other
                                 TOTAL BAKER & MCKENZIE ABOGADOS, S.C.                   $36,422

3.5    BASHAM (MEXICO)                                              9/16/2020            $17,882          Secured debt
       PASEO DE LOS TAMARINDOS NO. 400-A                                                                  Unsecured loan repayment
       9TH FLOOR                                                    9/17/2020            $11,247
                                                                                                          Suppliers or vendors
       BOSQUES DE LAS LOMAS                                         9/17/2020             $396            Services
       CIUDAD DE MÉXICO 05120
       MONTENEGRO                                                                                         Other



                                                  TOTAL BASHAM (MEXICO)                  $29,525




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       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.6     BONELLIEREDE (ITALY)                                        9/15/2020            $57,227          Secured debt
        1 VIA BAROZZI                                                                                     Unsecured loan repayment
        MILAN 20122                                                                                       Suppliers or vendors
        ITALY                                                                                             Services
                                                                                                          Other
                                              TOTAL BONELLIEREDE (ITALY)                 $57,227

3.7     BROADRIDGE INVESTOR COMMUNICATIONS                           7/7/2020            $24,565          Secured debt
        51 MERCEDES WAY                                                                                   Unsecured loan repayment
        EDGEWOOD, NY 11717                                           8/4/2020            $25,391
                                                                                                          Suppliers or vendors
                                                                    8/24/2020            $20,825          Services
                                                                                                          Other



                           TOTAL BROADRIDGE INVESTOR COMMUNICATIONS                      $70,780

3.8     BYRNEWALLACE (IRELAND)                                      9/16/2020            $36,298          Secured debt
        88 HARCOURT STREET                                                                                Unsecured loan repayment
        DUBLIN 2 D02 DK18                                           9/17/2020            $13,609
                                                                                                          Suppliers or vendors
        IRAN, ISLAMIC REPUBLIC OF                                                                         Services
                                                                                                          Other

                                          TOTAL BYRNEWALLACE (IRELAND)                   $49,907

3.9     CITIBANK, N.A.                                               9/8/2020           $750,000          Secured debt
        C/O WEIL, GOTSHAL & MANGES LLP                                                                    Unsecured loan repayment
        767 FIFTH AVENUE                                                                                  Suppliers or vendors
        NEW YORK, NY 10153                                                                                Services
                                                                                                          Other
                                                      TOTAL CITIBANK, N.A.              $750,000

3.10    CLIFFORD CHANCE BADEA SPRL                                  9/18/2020            $55,449          Secured debt
        STRADA ACADEMIEI 28                                                                               Unsecured loan repayment
        BUCUREȘTI 30167                                                                                   Suppliers or vendors
        ROMANIA                                                                                           Services
                                                                                                          Other
                                     TOTAL CLIFFORD CHANCE BADEA SPRL                    $55,449

3.11    CORPORATION SERVICE COMPANY                                 8/10/2020            $40,000          Secured debt
        251 LITTLE FALLS DRIVE                                                                            Unsecured loan repayment
        WILMINGTON, DE 19808                                                                              Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                    TOTAL CORPORATION SERVICE COMPANY                    $40,000




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       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.12    CSC THE UNITED STATES CORPORATION                           6/23/2020             $385            Secured debt
        PO BOX 13397                                                                                      Unsecured loan repayment
        PHILADELPHIA, PA 19101-3397                                  7/1/2020              $98
                                                                                                          Suppliers or vendors
                                                                     7/7/2020             $2,639          Services
                                                                     8/4/2020             $2,966          Other

                                                                    8/24/2020             $1,427
                                                                     9/8/2020              $85
                                                                    9/15/2020             $624




                                TOTAL CSC THE UNITED STATES CORPORATION                   $8,223

3.13    DENTONS (AUSTRALIA)                                         9/16/2020             $6,927          Secured debt
        77 CASTLEREAGH ST                                                                                 Unsecured loan repayment
        SYDNEY, NSW 2000                                            9/17/2020             $4,724
                                                                                                          Suppliers or vendors
        AUSTRALIA                                                                                         Services
                                                                                                          Other

                                              TOTAL DENTONS (AUSTRALIA)                  $11,651

3.14    DONNELLEY FINANCIAL SOLUTIONS                                7/8/2020           $151,389          Secured debt
        PO BOX 531832                                                                                     Unsecured loan repayment
        ATLANTA, GA 30353-1832                                       8/4/2020            $20,196
                                                                                                          Suppliers or vendors
                                                                    8/24/2020             $1,300          Services
                                                                                                          Other



                                   TOTAL DONNELLEY FINANCIAL SOLUTIONS                  $172,885

3.15    EQ SHAREOWNER SERVICES                                      7/21/2020             $7,942          Secured debt
        1110 CENTRE POINTE CURVE                                                                          Unsecured loan repayment
        MENDOTA HEIGHTS, MN 55120                                    8/4/2020            $10,611
                                                                                                          Suppliers or vendors
                                                                    8/24/2020             $9,422          Services
                                                                                                          Other



                                         TOTAL EQ SHAREOWNER SERVICES                    $27,975




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adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.16    FILIP & COMPANY                                             9/15/2020            $10,880          Secured debt
        STRADA GARA HERĂSTRĂU                                                                             Unsecured loan repayment
        BUCUREȘTI                                                   9/17/2020            $19,397
                                                                                                          Suppliers or vendors
        ROMANIA                                                                                           Services
                                                                                                          Other

                                                   TOTAL FILIP & COMPANY                 $30,276

3.17    FLICHY (FRANCE)                                             9/15/2020            $10,353          Secured debt
        66 AVE D LENA                                                                                     Unsecured loan repayment
        PARIS 75116                                                                                       Suppliers or vendors
        FRANCE                                                                                            Services
                                                                                                          Other
                                                   TOTAL FLICHY (FRANCE)                 $10,353

3.18    HOGAN LOVELLS US LLP                                        6/23/2020            $25,120          Secured debt
        555 THIRTEENTH STREET, NW                                                                         Unsecured loan repayment
        WASHINGTON, DC 20004                                        7/21/2020             $2,072
                                                                                                          Suppliers or vendors
                                                                     8/4/2020            $25,079          Services
                                                                     9/8/2020             $3,678          Other




                                            TOTAL HOGAN LOVELLS US LLP                   $55,949

3.19    HOMBURGER AG                                                9/18/2020            $27,960          Secured debt
        HARDSTRASSE 201                                                                                   Unsecured loan repayment
        ZURICH 8005                                                                                       Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                    TOTAL HOMBURGER AG                   $27,960

3.20    INSTITUT FUR SYSTEMISCHES MANAGEMENCH                       8/25/2020             $8,005          Secured debt
        DUFOURSTRASSE 40A                                                                                 Unsecured loan repayment
        ST. GALLEN 09000                                                                                  Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                          TOTAL INSTITUT FUR SYSTEMISCHES MANAGEMENCH                     $8,005

3.21    INTRALINKS                                                  9/10/2020             $8,330          Secured debt
        685 3RD AVENUE, 9TH FLOOR                                                                         Unsecured loan repayment
        NEW YORK, NY 10017                                          9/10/2020            $21,000
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                                        TOTAL INTRALINKS                 $29,330



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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.22    JUNHE (CHINA)                                               9/16/2020            $17,236          Secured debt
        JUNHE LAW OFFICE SHANGHAI OFFICE                                                                  Unsecured loan repayment
        上海石门一路288号 兴业太古汇香港兴业中心一座26层                                                                       Suppliers or vendors
        SHANGHAI 200041                                                                                   Services
        SWITZERLAND
                                                                                                          Other
                                                      TOTAL JUNHE (CHINA)                $17,236

3.23    KIM & CHANG                                                 9/16/2020            $14,675          Secured debt
        39, SAJIK-RO 8-GIL                                                                                Unsecured loan repayment
        JONGNO-GU                                                   9/18/2020             $134
                                                                                                          Suppliers or vendors
        SEOUL 03170                                                                                       Services
                                                                                                          Other

                                                       TOTAL KIM & CHANG                 $14,809

3.24    KLDISCOVERY LIMITED                                         9/14/2020            $14,264          Secured debt
        VIA MARSALA 34/A                                                                                  Unsecured loan repayment
        GALLARATE 21013                                                                                   Suppliers or vendors
        ITALY                                                                                             Services
                                                                                                          Other
                                             TOTAL KLDISCOVERY LIMITED                   $14,264

3.25    LATHAM WATKINS LLP US                                       8/24/2020            $82,274          Secured debt
        555 WEST FIFTH STREET, SUITE 800                                                                  Unsecured loan repayment
        LOS ANGELES, CA 90013                                        9/3/2020            $59,546
                                                                                                          Suppliers or vendors
                                                                    9/11/2020             $1,957          Services
                                                                                                          Other



                                           TOTAL LATHAM WATKINS LLP US                  $143,777

3.26    LENZ ET STAEHELIN CH                                         7/7/2020             $7,112          Secured debt
        GRANDRUE 25                                                                                       Unsecured loan repayment
        GENEVE 11 01211                                              8/4/2020           $177,619
                                                                                                          Suppliers or vendors
                                                                    8/25/2020           $166,122          Services
                                                                     9/3/2020            $59,573          Other

                                                                     9/9/2020            $97,572




                                             TOTAL LENZ ET STAEHELIN CH                 $507,998




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       Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or       Reasons for Payment
                                                                                          Value               or Transfer


3.27    MARSH                                                       9/14/2020           $6,345,445        Secured debt
        VICTORIA HOUSE, QUEENS ROAD, NORFOL                                                               Unsecured loan repayment
        NORWICH NR1 3QQ                                             9/14/2020           $5,393,628
                                                                                                          Suppliers or vendors
                                                                    9/14/2020           $4,640,106        Services
                                                                    9/14/2020           $5,155,674        Other Insurance

                                                                    9/14/2020          $15,546,340
                                                                    9/14/2020           $4,759,084




                                                             TOTAL MARSH             $41,840,276

3.28    NATIONAL ECONOMIC RESEARCH ASSOCIATES INC                    9/9/2020           $159,027          Secured debt
        1166 AVENUE OF THE AMERICAS 24TH FL                                                               Unsecured loan repayment
        NEW YORK, NY 10036                                                                                Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                     TOTAL NATIONAL ECONOMIC RESEARCH ASSOCIATES INC                    $159,027

3.29    NISHIMURA & ASAHI (JAPAN)                                   9/15/2020            $27,503          Secured debt
        OTEMON TOWER, 1-1-2 OTEMACHI, CHIYU                                                               Unsecured loan repayment
        TOKYO 100-8124                                              9/17/2020            $35,189
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                         TOTAL NISHIMURA & ASAHI (JAPAN)                 $62,692

3.30    OGIER                                                       9/18/2020            $18,218          Secured debt
        2-4 RUE EUGENE RUPPERT                                                                            Unsecured loan repayment
        PO BOX 2078 L-1020                                                                                Suppliers or vendors
        LUXEMBOURG                                                                                        Services
                                                                                                          Other
                                                              TOTAL OGIER                $18,218

3.31    ORACLE                                                      9/10/2020           $1,399,172        Secured debt
        PO BOX 71028                                                                                      Unsecured loan repayment
        CHICAGO, IL 60694-1028                                                                            Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                            TOTAL ORACLE              $1,399,172




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3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
       None


  Creditor's Name and Address                                         Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer


3.32    S&P GLOBAL RATINGS                                          9/11/2020            $87,500          Secured debt
        70 SIR JOHN ROGERSONS QUAY                                                                        Unsecured loan repayment
        DUBLIN 2 D02 R296                                                                                 Suppliers or vendors
        IRAN, ISLAMIC REPUBLIC OF                                                                         Services
                                                                                                          Other
                                               TOTAL S&P GLOBAL RATINGS                  $87,500

3.33    SHARDUL AMARCHAND MANGALDAS AND CO.                         9/15/2020            $21,519          Secured debt
        AMARCHAND TOWERS, 216, OKHLA INDUST                                                               Unsecured loan repayment
        NEW DELHI 110020                                                                                  Suppliers or vendors
        INDIA                                                                                             Services
                                                                                                          Other
                         TOTAL SHARDUL AMARCHAND MANGALDAS AND CO.                       $21,519

3.34    SIGNATURE LITIGATION AARPI FR                                7/7/2020            $77,327          Secured debt
        118 AVENUE DES CHAMPES-ELYSEES                                                                    Unsecured loan repayment
        PARIS 75008                                                  8/4/2020            $76,026
                                                                                                          Suppliers or vendors
        FRANCE                                                      8/19/2020           $171,860          Services
                                                                    8/21/2020            $74,508          Other




                                      TOTAL SIGNATURE LITIGATION AARPI FR               $399,720

3.35    THE NORTHERN TRUST COMPANY                                  6/24/2020            $10,336          Secured debt
        50 SOUTH LASALLE                                                                                  Unsecured loan repayment
        CHICAGO, IL 60603                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                     TOTAL THE NORTHERN TRUST COMPANY                    $10,336

3.36    THOMAZ BASTOS, WAISBERG, KURZWEIL                           9/16/2020             $8,558          Secured debt
        AVENIDA BRIGADEIRO FARIA LIMA A 311                                                               Unsecured loan repayment
        SAO PAULO 04538-133                                                                               Suppliers or vendors
        BRAZIL                                                                                            Services
                                                                                                          Other
                                TOTAL THOMAZ BASTOS, WAISBERG, KURZWEIL                   $8,558

3.37    WILDGEN S.A.                                                9/15/2020            $25,507          Secured debt
        69 BOULEVARD DE LA PETRUSSE                                                                       Unsecured loan repayment
        LUXEMBOURG 2320                                             9/18/2020            $32,481
                                                                                                          Suppliers or vendors
        LUXEMBOURG                                                                                        Services
                                                                                                          Other

                                                       TOTAL WILDGEN S.A.                $57,987




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3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
adjustment.)
    None


 Creditor's Name and Address                                          Dates         Total Amount or      Reasons for Payment
                                                                                          Value              or Transfer




                                                                  TOTAL              $46,452,807




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      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates              Amount       Reason for Payment




4.1    BALIS CRAIG                                                     9/25/2019           $209,482    Stock Options
       CHIEF TECHNOLOGY OFFICER, SVP
       C/O GARRETT MOTION INC.                                         12/16/2019          $215,457    Stock Options
       47548 HALYARD DRIVE                                             3/25/2020            $84,725    Incentive Compensation Plan Award
       PLYMOUTH , MI 48170
                                                                       3/25/2020           $272,658    Restricted Units
                                                                       4/24/2020           $100,016    Restricted Units
                                                                       4/24/2020           $109,954    Stock Options
                                                                       6/25/2020           $245,811    Stock Options
                                                                       6/25/2020           $537,000    Continuity Award
                                                                       8/25/2020           $160,517    Restricted Units

                                                       TOTAL BALIS CRAIG                  $1,935,620


4.2    BRACKE, PETER                                                   3/25/2020            $94,037    Incentive Compensation Plan Award
       CHIEF TRANSFORMATION OFFICER
       C/O GARRETT MOTION INC.                                         3/25/2020           $322,794    Restricted Units
       47548 HALYARD DRIVE                                             4/24/2020           $117,362    Restricted Units
       PLYMOUTH , MI 48170
                                                                       6/25/2020           $230,000    Continuity Award
                                                                       8/25/2020           $171,442    Restricted Units

                                                   TOTAL BRACKE, PETER                     $935,635


4.3    CARDOSO, CARLOS MANUEL                                          10/1/2019            $50,625    Retainer, Committee fee
       DIRECTOR
       C/O GARRETT MOTION INC.                                         10/16/2019           $16,072    Restricted Units
       47548 HALYARD DRIVE                                              1/2/2020            $50,625    Retainer, Committee fee
       PLYMOUTH , MI 48170
                                                                        4/1/2020            $50,625    Retainer, Committee fee
                                                                       6/12/2020            $44,952    Restricted Units
                                                                        7/1/2020           $101,625    Retainer, RSUs, Committee fee
                                                                        9/4/2020           $101,625    Retainer, RSUs, Committee fee

                                       TOTAL CARDOSO, CARLOS MANUEL                        $416,149




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      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates              Amount       Reason for Payment




4.4    CARSTEN REINHARDT                                               10/3/2019            $23,750    Board Fee
       DIRECTOR
       C/O GARRETT MOTION INC.                                         1/22/2020            $23,750    Board Fee
       47548 HALYARD DRIVE                                              4/1/2020            $23,750    Board Fee
       PLYMOUTH , MI 48170
                                                                       6/23/2020            $75,753    Board Fee
                                                                        9/7/2020            $79,750    Board Fee

                                              TOTAL CARSTEN REINHARDT                      $226,753


4.5    CLARK, MAURA JAMESON                                            10/1/2019            $25,625    Retainer, Committee fee
       DIRECTOR
       C/O GARRETT MOTION INC.                                         10/16/2019           $16,072    Restricted Units
       47548 HALYARD DRIVE                                              1/2/2020            $25,625    Retainer, Committee fee
       PLYMOUTH , MI 48170
                                                                        4/1/2020            $25,625    Retainer, Committee fee
                                                                       6/12/2020            $44,952    Restricted Units
                                                                        7/1/2020            $81,625    Retainer, RSUs, Committee fee
                                                                        9/4/2020            $81,625    Retainer, RSUs, Committee fee

                                          TOTAL CLARK, MAURA JAMESON                       $301,149


4.6    DEASON SEAN                                                     7/24/2020          $1,276,500   Sign On Bonus
       CHIEF FINANCIAL OFFICER
       C/O GARRETT MOTION INC.                                         8/25/2020           $149,649    Sign On Bonus
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170                           TOTAL DEASON SEAN                    $1,426,149




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      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates            Amount       Reason for Payment




4.7    ENGHAUSER, COURTNEY MICHELLE                                    10/1/2019           $23,750   Retainer, Committee fee
       DIRECTOR
       C/O GARRETT MOTION INC.                                         10/16/2019          $16,072   Restricted Units
       47548 HALYARD DRIVE                                              1/2/2020           $23,750   Retainer, Committee fee
       PLYMOUTH , MI 48170
                                                                        4/1/2020           $23,750   Retainer, Committee fee
                                                                       6/12/2020           $44,952   Restricted Units
                                                                        7/1/2020           $79,750   Retainer, RSUs, Committee fee
                                                                        9/4/2020           $79,750   Retainer, RSUs, Committee fee

                                TOTAL ENGHAUSER, COURTNEY MICHELLE                        $291,774


4.8    JEROME STOLL                                                     4/1/2020            $1,401   Board Fee
       DIRECTOR
       C/O GARRETT MOTION INC.                                          5/5/2020           $17,250   Board Fee
       47548 HALYARD DRIVE                                             6/23/2020           $63,442   Board Fee
       PLYMOUTH , MI 48170
                                                                        9/7/2020           $63,442   Board Fee

                                                    TOTAL JEROME STOLL                    $145,535


4.9    MABRU THIERRY                                                   3/25/2020           $86,025   Incentive Compensation Plan Award
       SENIOR VICE PRESIDENT
       C/O GARRETT MOTION INC.                                         3/25/2020          $208,655   Restricted Units
       47548 HALYARD DRIVE                                             4/24/2020           $78,585   Restricted Units
       PLYMOUTH , MI 48170
                                                                       6/25/2020          $543,000   Continuity Award
                                                                       8/25/2020           $57,589   Restricted Units

                                                   TOTAL MABRU THIERRY                    $973,855




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor              Dates              Amount       Reason for Payment




4.10    MAIN, SUSAN LEE                                                 10/1/2019            $23,750    Retainer, Committee fee
        DIRECTOR
        C/O GARRETT MOTION INC.                                         10/16/2019           $16,072    Restricted Units
        47548 HALYARD DRIVE                                              1/2/2020            $23,750    Retainer, Committee fee
        PLYMOUTH , MI 48170
                                                                         4/1/2020            $23,750    Retainer, Committee fee
                                                                        6/12/2020            $44,952    Restricted Units
                                                                         7/1/2020            $79,750    Retainer, RSUs, Committee fee
                                                                         9/4/2020            $79,750    Retainer, RSUs, Committee fee

                                                   TOTAL MAIN, SUSAN LEE                    $291,774


4.11    MAIRONI JEROME                                                  9/25/2019            $23,695    Restricted Units
        GENERAL COUNSEL, SVP
        C/O GARRETT MOTION INC.                                         9/25/2019           $155,246    Restricted Units
        47548 HALYARD DRIVE                                             3/25/2020           $134,946    Incentive Compensation Plan Award
        PLYMOUTH , MI 48170
                                                                        5/25/2020           $221,766    Restricted Units
                                                                        5/25/2020           $194,916    Restricted Units
                                                                        6/25/2020           $604,000    Continuity Award

                                                   TOTAL MAIRONI JEROME                    $1,334,570


4.12    RABILLER OLIVIER                                                3/25/2020           $757,423    Restricted Units
        DIRECTOR, PRESIDENT & CEO
        C/O GARRETT MOTION INC.                                         3/25/2020           $499,500    Incentive Compensation Plan Award
        47548 HALYARD DRIVE                                             6/25/2020          $1,858,000   Continuity Award
        PLYMOUTH , MI 48170
                                                                        8/25/2020            $99,246    Restricted Units

                                                  TOTAL RABILLER OLIVIER                   $3,214,169




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor              Dates               Amount       Reason for Payment




4.13    TOZIER, SCOTT ALLEN                                             10/1/2019             $26,875    Retainer, Committee fee
        DIRECTOR
        C/O GARRETT MOTION INC.                                         10/16/2019            $16,072    Restricted Units
        47548 HALYARD DRIVE                                              1/2/2020             $26,875    Retainer, Committee fee
        PLYMOUTH , MI 48170
                                                                         4/1/2020             $26,875    Retainer, Committee fee
                                                                        6/12/2020             $44,952    Restricted Units
                                                                         7/1/2020             $82,875    Retainer, RSUs, Committee fee
                                                                         9/4/2020             $82,875    Retainer, RSUs, Committee fee

                                              TOTAL TOZIER, SCOTT ALLEN                      $307,399




                                                                     TOTAL                 $11,800,532




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       Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property
repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do
not include property listed in line 6.
       None


 Creditor's Name and Address                   Description of the Property                   Date Action         Value of Property
                                                                                             was Taken


5. 1   NONE                                                                                                                      $0


                                                                                                           TOTAL                 $0




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    Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took
anything from an account of the debtor without permission or refused to make a payment at the debtor's direction from an
account of the debtor because the debtor owed a debt.
    None


 Creditor's Name and Address                         Description of Action Creditor Took    Date Action        Account           Amount
                                                                                               Taken           Number


6. 1 NONE                                                                                                                             $0



                                                                                                               TOTAL                  $0




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      Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the
debtor was involved in any capacity - within 1 year before filing this case.
      None


 Caption of Suit and Case Number             Nature of Proceeding                Court or Agency and Address       Status of Case



7.1   GARRETT MOTION INC. ET AL. V.      COMPLAINT AGAINST                     SUPREME COURT OF THE STATE         PENDING
      HONEYWELL INTERNATIONAL INC.       HONEYWELL RELATED TO SPIN-            OF NEW YORK; COUNTY OF NEW
      ET AL.                             OFF TRANSACTION                       YORK: COMMERCIAL DIVISION
      INDEX NO. 657106/2019                                                    NEW YORK COUNTY
                                                                               COURTHOUSE, 60 CENTRE
                                                                               STREET, ROOM 119A, NEW
                                                                               YORK, NY 10007




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       Part 3:    Legal Actions or Assignments


8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver,
custodian, or other court-appointed officer within 1 year before filing this case.

      None


 Custodian's Name and Address                  Court Name and Address           Case Title and Number             Date        Description of Property                  Value



8.1    NONE




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      Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of the gifts to that recipient is less than $1,000
       None


 Recipient’s Name and Address                         Recipient’s          Description of the     Dates Given       Value
                                                     Relationship to           Gifts or
                                                         Debtor              Contributions



9.1   NONE




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       Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None


 Description of Property                   How Loss Occurred                         Amount of                      Date of            Property Value
                                                                                  Payments Received                  Loss


                                                                                   If you have received payments to cover the loss, for example, from
                                                                                    insurance, govertnment compensation, or tort liability, list the total
                                                                                  received. List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                                                 Assets - Real and Personal Property).


10.1    NONE                                                                                                                                Undetermined


                                                                                                                        TOTAL              Undetermined




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Garrett Motion Inc.                                                                                                                            Case Number:            20-12212


       Part 6:      Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

         None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.1    ALIXPARTNERS, LLP                                                                                                                                          $5,887,194
        300 N. LASALLE STREET
        SUITE 1900
        CHICAGO, IL 60654


11.2    DANIEL J. EDELMAN, INC.                                                                                                                                      $671,939
        200 E. RANDOLPH DR. 63RD FLOOR
        CHICAGO, IL 60601


11.3    DAVIS POLK WARDWELL LLP                                                                                                                                       $11,000
        450 LEXINGTON AVE
        NEW YORK, NY 10017


11.4    DELOITTE                                                                                                                                                   $5,033,494
        4022 SELLS DRIVE
        DALLAS, TX 75284-4708


11.5    ERNST AND YOUNG LLP                                                                                                                                       $11,638,076
        200 PLAZA DRIVE
        SECAUCUS, NJ 07094


11.6    FTI CONSULTING, INC.                                                                                                                                         $463,074
        16701 MELFORD BLVD.
        SUITE 200
        BOWIE, MD 20715




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Garrett Motion Inc.                                                                                                                            Case Number:            20-12212


       Part 6:     Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

         None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.7    GIBSON, DUNN & CRUTCHER LLP                                                                                                                                  $939,541
        200 PARK AVE
        NEW YORK, NY 10166


11.8    KURTZMAN CARSON CONSULTANTS                                                                                                                                  $275,000
        222 N PACIFIC COAST HIGHWAY
        3RD FLOOR
        EL SEGUNDO, CA 90245


11.9    MORGAN STANLEY & CO. LLC                                                                                                                                  $10,168,587
        1585 BROADWAY AVENUE
        NEW YORK, NY 10036


11.10 PERELLA WEINBERG PARTNERS, LP                                                                                                                               $12,569,047
      767 FIFTH AVENUE
      5TH FLOOR
      NEW YORK, NY 10153


11.11 PRICEWATERHOUSECOOPERS LLP                                                                                                                                   $7,114,063
      1 EMBANKMENT PLACE
      LONDON WC2N 6RH


11.12 QUINN EMANUEL URQUHART AND                                                                                                                                   $7,943,688
      SULLIVAN LLP
      865 SOUTH FIGUEROA STREET,10TH FLOO
      LOS ANGELES, CA 90017



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Garrett Motion Inc.                                                                                                                            Case Number:            20-12212


    Part 6:        Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.13 SCHULTE ROTH & ZABEL LLP                                                                                                                                       $479,845
      919 THIRD AVENUE
      NEW YORK, NY 10022


11.14 SIMPSON THACHER & BARTLETT LLP                                                                                                                                 $537,782
      425 LEXINGTON AVENUE
      NEW YORK, NY 10017


11.15 STROOCK & STROOCK & LAVAN LLP                                                                                                                                  $282,542
      180 MAIDEN LANE
      NEW YORK, NY 10038


11.16 SULLIVAN & CROMWELL LLP                                                                                                                                     $18,146,178
      125 BROAD STREET
      NEW YORK, NY 10004


11.17 WEIL, GOTSHAL&MANGES LLP                                                                                                                                       $710,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.18 WILLIS TOWER WATSON US LLC                                                                                                                                     $156,218
      800 N GLEBE ROAD, FLOOR 10
      ARLINGTON, VA 22203




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Garrett Motion Inc.                                                                                                                            Case Number:            20-12212


    Part 6:        Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value




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Garrett Motion Inc.                                                                            Case Number:             20-12212


       Part 6:     Certain Payments or Transfers

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years
before the filing of this case to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

        None


  Name of Trust or Device       Trustee                Describe any Property Transferred   Dates Transfers   Total Amount / Value
                                                                                           were Made


12.1    NONE                                                                                                                $0




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Garrett Motion Inc.                                                                                Case Number:             20-12212


    Part 6:        Certain Payments or Transfers

13. Transfers not already listed on this statement

List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on
behalf of the debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary
course of business or financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or
transfers previously listed on this statement.
    None


 Name and Address of Transferee, Relationship to Debtor           Description of Property            Date Transfer     Total Amount
                                                                                                      was Made           or Value


13. 1 NONE                                                                                                                        $0



                                                                                                       TOTAL                      $0




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Garrett Motion Inc.                                                                                    Case Number:           20-12212


        Part 7:          Previous Locations

14. Previous addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        Does not apply


 Address                                                                          Dates of Occupancy



 14.1       NONE                                                              From:                     To:




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Garrett Motion Inc.                                                                                           Case Number:          20-12212


       Part 8:         Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.


 Facility Name and Address                         Nature of the Business       Location Where Patient          If Debtor        How are
                                                   Operation, Including         Records are Maintained          Provides Meals   Records
                                                   Type of Services the         (if Different from Facility     and Housing,     Kept?
                                                   Debtor Provides              Address). If Electronic,        Number of
                                                                                Identify any Service            Patients in
                                                                                Provider.                       Debtor’s Care


15.1    NONE                                                                                                                       Electronic
                                                                                                                                   Paper




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    Part 9:         Personally Identifiable Information


16. Does the debtor collect and retain personally identifiable information of customers?
     No.
     Yes. State the nature of the information collected and retained.
       Does the debtor have a privacy policy about that information?
              No
              Yes




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    Part 9:          Personally Identifiable Information

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k),
403(b), or other pension or profit-sharing plan made available by the debtor as an employee benefit?

   No. Go to Part 10.

   Yes. Does the debtor serve as plan administrator?

         No. Go to Part 10.
         Yes. Fill in below:

         Describe:                                                                     EIN:

         Has the plan been terminated?
            No
            Yes




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Garrett Motion Inc.                                                                               Case Number:            20-12212


       Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's
benefit, closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit
unions, brokerage houses, cooperatives, associations, and other financial institutions.
       None


 Financial Institution Name and Address         Last 4 Digits of     Type of Account                  Date of Closing      Last
                                                 Acct Number                                                              Balance


18.1    NONE




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Garrett Motion Inc.                                                                              Case Number:             20-12212

    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1
year before filing this case.

        None


  Depository Institution Name and Address      Names of Anyone with Access to it and   Description of the        Does Debtor still
                                               Address                                 Contents                  have it?



19. 1   NONE                                                                                                             No
                                                                                                                         Yes




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    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in
a part of a building in which the debtor does business.

         None


  Facility Name and Address                      Names of Anyone            Address               Description of the     Does Debtor
                                                 with Access to it                                Contents               still have it?




 20. 1    VERIZON TERREMARK                    DINBANDHU KUMAR,           C/O GARRETT            PRIMARY BACK UP            No
          C/O GARRETT ADVANCING MOTION         VISHWAS JAISWAL,           MOTION INC.            FOR ALL DEBTORS'
                                                                                                                            Yes
          CATERINGWEG 5                        SATHEESH KUMAR PRV         47548 HALYARD DRIVE    SITE SERVERS
          1118 AM SCHIPHOL                                                PLYMOUTH, MI 48170
          NETHERLANDS




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    Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored
for, or held in trust. Do not list leased or rented property.

        None

  Owner’s Name and Address                             Location of the Property     Description of the          Value
                                                                                    Property


 21.1   NONE




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        Part 12:         Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous
   material, regardless of the medium affected (air, land, water, or any other medium).
   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that
   the debtor formerly owned, operated, or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant,
   contaminant, or a similary harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
settlements and orders.
         No
         Yes. Provide details below.


 Case Title and Case Number                      Court or Agency Name and Address     Nature of Proceeding           Status



22. 1    NONE




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 Garrett Motion Inc.                                                                                                                        Case Number:             20-12212


    Part 12:         Details About Environmental Information

For the purpose of Part 12, the followig definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
   affected (air, land, water, or any other medium).

   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
   or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similary harmful
   substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable under or in violation of an environmental law?

   No
   Yes. Provide details below.


 Site Name and Address                             Governmental Unit Name and Address                    Environmental Law, if Known                           Date of Notice



23. 1 NONE




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   Part 12:          Details About Environmental Information


For the purpose of Part 12, the followig definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
   affected (air, land, water, or any other medium).

   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
   or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similary harmful
   substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

24. Has the debtor notified any governmental unit of any release of hazardous material?
   No
   Yes. Provide details below.

 Site Name and Address                          Governmental Unit Name and Address                       Environmental Law, if Known                            Date of Notice



24.1 NONE




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    Part 13:       Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

         None


  Business Name and Address                                    Describe the Nature of the    Employer Identification     Dates Business
                                                               Business                            Number                    Existed


                                                                                            Do not include SSN or ITIN
 25. 1   BRH LLC                                             HOLDING                                                          -
         ATTN: GENERAL COUNSEL
         16 LA PIÈCE
         ROLLE, 1180
         SWITZERLAND

 25. 2   CALVARI LIMITED                                     DORMANT                         XX-XXXXXXX                       -
         ATTN: GENERAL COUNSEL
         HARVEY'S QUAY
         LIMERICK, IRELAND V94R3DE

 25. 3   COM DEV INVESTMENTS LIMITED                         DORMANT                                                          -
         ATTN: GENERAL COUNSEL
         UNIT E7 COUNTESS AVENUE
         STANLEY GREEN RETAIL PARK
         CHEADLE, HULME, STOCKPORT SK8 6QS

 25. 4   FMP AUTOMOTIVE (MALAYSIA) SDN BHD                   DORMANT                                                          -
         ATTN: GENERAL COUNSEL
         UNIT D-04-01 (1ST FLOOR), GARDEN SHOPPE @ ONE
         CITY, JALAN USJ 25/1A, , 47650 SUBANG JAYA,
         SELANGOR, MALAYSIA

 25. 5   FMP DISTRIBUTION LTD.                               DORMANT                                                          -
         ATTN: GENERAL COUNSEL
         719 KPN TOWER, 20TH FLOOR, RAMA IX ROAD,
         BANGKAPI, HUAY KWANG, BANGKOK 10320,
         THAILAND

 25. 6   FMP GROUP (AUSTRALIA) PTY LTD                       MANUFACTURING                                                    -
         ATTN: GENERAL COUNSEL
         8 ELIZABETH STREET, BALLARAT, VICTORIA 3350,
         AUSTRALIA

 25. 7   FMP GROUP (THAILAND) LIMITED                        DORMANT                                                          -
         ATTN: GENERAL COUNSEL
         NO. 64/16 MOO 4, EASTERN SEABOARD INDUSTRIAL,
         ESTATE, TAMBOL PLUAKDAENG, AMPHUR PLUAK
         DAENC, RAYONG, THAILAND

 25. 8   FMP GROUP PTY LIMITED                               DORMANT                                                          -
         ATTN: GENERAL COUNSEL
         8 ELIZABETH STREET, BALLARAT, VICTORIA 3350,
         AUSTRALIA

 25. 9   FRICTION MATERIALS LLC                           LIMITED PURPOSE                    XX-XXXXXXX                       -
         ATTN: GENERAL COUNSEL
         234 E. MAPLE DRIVE, TROY MI 48083, UNITED STATES




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                                 Describe the Nature of the    Employer Identification     Dates Business
                                                            Business                            Number                    Existed


                                                                                         Do not include SSN or ITIN
 25. 10 GARRET MOTION SWITZERLAND HOLDINGS SÀRL           HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        RUE DU POMMIER 7, 2000, NEUCHÂTEL,
        SWITZERLAND

 25. 11 GARRETT (CHINA) INVESTMENT CO., LTD.              HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        NO. 8 NIU DUN LU, ZHANGJIANG HI-TECH PARK,
        PUDONG NEW AREA, SHANGHAI, 210203, CHINA

 25. 12 GARRETT ASASCO INC.                               LIMITED PURPOSE                 XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        47548 HALYARD DRIVE
        PLYMOUTH, MI 48170

 25. 13 GARRETT BORROWING LLC                             LIMITED PURPOSE                 XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        47548 HALYARD DRIVE
        PLYMOUTH, MI 48170

 25. 14 GARRETT FINANCES SNC                              DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        ZONE INDUSTRIELLE-INOVA 3000, 2, RUE DE
        L'AVENIR, 88155, THAON-LES-VOSGES, CAPAVENIR
        VOSGES, FRANCE

 25. 15 GARRETT HOLDING COMPANY SARL                      HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        ROUTE DES FALAISES 7, 2001, NEUCHATEL 1,
        SWITZERLAND

 25. 16 GARRETT LX I SARL                                 HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        19 RUE DE BITBOURG, LUXEMBOURG, L-1273,
        LUXEMBOURG

 25. 17 GARRETT LX II SARL                                HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        19 RUE DE BITBOURG, LUXEMBOURG, L-1273,
        LUXEMBOURG

 25. 18 GARRETT LX III SARL                               HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        19 RUE DE BITBOURG, LUXEMBOURG, L-1273,
        LUXEMBOURG




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                                 Describe the Nature of the    Employer Identification     Dates Business
                                                            Business                            Number                    Existed


                                                                                         Do not include SSN or ITIN
 25. 19 GARRETT MOTION (THAILAND) CO., LTD.              MANUFACTURING                                                     -
        ATTN: GENERAL COUNSEL
        25/F, MUANG THAI PHATRA OFFICE TOWER II, 252/121
        RACHADAPISEK ROAD, KWAENG HUAY KHWANG,
        KHET HUAY KHWANG, BANGKOK, THAILAND

 25. 20 GARRETT MOTION AUSTRALIA PTY LIMITED              THIRD PARTY SALES               XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        UNIT 4, 14 ALFRED ROAD
        CHIPPING NORTON
        NSW, AUSTRALIA 2170

 25. 21 GARRETT MOTION AUTOMOTIVE RESEARCH MEXICO SERVICES AND SUPPORT                                                     -
        S. DE R.L. DE C.V
        ATTN: GENERAL COUNSEL
        BLVD. LAZARO CARDENAS NO. 2545
        COL. PLUTARCO ELIAS CALLES
        MEXICALI, MEXICO 21396

 25. 22 GARRETT MOTION BERMUDA LTD.                       DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        CUMBERLAND HOUSE, 9TH FLOOR, 1 VICTORIA
        STREET, HAMILTON , HM11, BERMUDA

 25. 23 GARRETT MOTION CZECH REPUBLIC S.R.O.              R&D AND SOFTWARE                                                 -
        ATTN: GENERAL COUNSEL                             DEVELOPMENT
        TURANKA 1378/100, BRNO, 62700, CZECH REPUBLIC

 25. 24 GARRETT MOTION ENGINEERING SOLUTIONS              R&D                                                              -
        PRIVATE LIMITED
        ATTN: GENERAL COUNSEL
        C-481A, SUSHANT LOK -1, GURGAON, HARYANA,
        122009, INDIA

 25. 25 GARRETT MOTION FRANCE A S.A.S.                    DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        ZONE INDUSTRIELLE-INOVA 3000, 2, RUE DE
        L'AVENIR, 88155, THAON-LES-VOSGES, CAPAVENIR
        VOSGES, FRANCE

 25. 26 GARRETT MOTION FRANCE B S.A.S                     DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        Z.I. EST, RUE JEAN MONET, 14110 CONDE-SUR-
        NOIREAU, FRANCE

 25. 27 GARRETT MOTION FRANCE C S.A.                      HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        15 RUE JEAN JAURES, 92800 PUTEAUX., FRANCE




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                               Describe the Nature of the    Employer Identification     Dates Business
                                                          Business                            Number                    Existed


                                                                                       Do not include SSN or ITIN
 25. 28 GARRETT MOTION FRANCE S.A.S.                    R&D, MANUFACTURING AND                                           -
        ATTN: GENERAL COUNSEL                           ENGINEERING
        ZONE INDUSTRIELLE-INOVA 3000, 2, RUE DE
        L'AVENIR, 88150, THAON-LES-VOSGES, CAPAVENIR
        VOSGES, FRANCE

 25. 29 GARRETT MOTION GERMANY GMBH                     ENGINEERING                                                      -
        ATTN: GENERAL COUNSEL
        BOBLINGER STRASSE 17, 71101 , SCHONAICH,
        GERMANY

 25. 30 GARRETT MOTION HOLDINGS II INC.                 HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        47547 HALYARD DRIVE
        PLYMOUTH, MI 48169

 25. 31 GARRETT MOTION HOLDINGS INC.                    HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        47548 HALYARD DRIVE
        PLYMOUTH, MI 48170

 25. 32 GARRETT MOTION INDUSTRIA AUTOMOTIVA BRASIL MANUFACTURING, SALES AND                                              -
        LTDA                                         ENGINEERING
        ATTN: GENERAL COUNSEL
        AVENIDA JULIA GAIOLLI 282, SUITE 01,
        BONSUCESSO, GUARULHOS, SÃO PAULO, 07251-500,
        BRAZIL

 25. 33 GARRETT MOTION INTERNATIONAL SERVICES          SERVICES                                                          -
        MOROCCO
        ATTN: GENERAL COUNSEL
        CASA TWIN TOWER ANGLE BD ZERKTOUNI, ET AL
        MASSIRA 16 ET 18, EME ETAGE 20100, CASABLANCA,
        MOROCCO

 25. 34 GARRETT MOTION INTERNATIONAL SERVICES S.R.L. SERVICES                                                            -
        ATTN: GENERAL COUNSEL
        BUCHAREST, SECTOR 2,, ING. GEORGE
        CONSTANTINESCU STREET 4B, 2-4 PLOT 1, BUILDING
        A, 1ST FLOOR, BUCHAREST, ROMANIA

 25. 35 GARRETT MOTION INTERNATIONAL SERVICES S.R.L.    SERVICES                                                         -
        TÜRKIYE İRTIBAT BÜROSU
        ATTN: GENERAL COUNSEL
        CAYIRYOLU SOK (HALYOLU), UCGEN PLAZA NO. 7,
        KAT 1-2-4-5-6-7, ICERENKOY, ISTANBUL, 81120,
        TURKEY




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                               Describe the Nature of the    Employer Identification     Dates Business
                                                          Business                            Number                    Existed


                                                                                       Do not include SSN or ITIN
 25. 36 GARRETT MOTION IRELAND A LIMITED                HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        CORK ROAD
        UNIT 411 INDUSTRIAL ESTATE
        WATERFORD, IRELAND

 25. 37 GARRETT MOTION IRELAND B LIMITED                DORMANT                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        70 SIR JOHN ROGERSON'S QUAY
        DUBLIN, IRELAND

 25. 38 GARRETT MOTION IRELAND C LIMITED                DORMANT                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        70 SIR JOHN ROGERSON'S QUAY
        DUBLIN, IRELAND

 25. 39 GARRETT MOTION IRELAND LIMITED                  MANUFACTURING                   XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        CORK ROAD
        UNIT 411 INDUSTRIAL ESTATE
        WATERFORD, IRELAND

 25. 40 GARRETT MOTION ITALIA S.R.L.                    SERVICES                        XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        6 VIA ANCONA
        ATESSA
        CHIETI, ITALY 66041

 25. 41 GARRETT MOTION JAPAN INC                        MANUFACTURING, SALES AND                                         -
        ATTN: GENERAL COUNSEL                           ENGINEERING
        NEW PIER TAKESHIBA SOUTHTOWER BUILDING 20F,
        1-16 KAIGAN 1-CHOME, MINATO-KU, TOKYO, 105-
        0022, JAPAN

 25. 42 GARRETT MOTION KOREA LTD.                       MANUFACTURING, SALES AND                                         -
        ATTN: GENERAL COUNSEL                           ENGINEERING
        4MA-304, SIWHA KONG DAN, KEUNGKOK DONG,
        ANSAN SI, KYUNGKI-DO, KOREA, REPUBLIC OF

 25. 43 GARRETT MOTION LLC                              HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        47543 HALYARD DRIVE
        PLYMOUTH, MI 48165

 25. 44 GARRETT MOTION MEXICO S.A. DE C.V               MANUFACTURING                   XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        NO. 145 AVENIDA CIRCUITO MEXICO
        COLONIA PARQUE INDUSTRIAL TRES NACIONES
        SAN LUIS POTOSI, MEXICO 78395



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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                                 Describe the Nature of the    Employer Identification     Dates Business
                                                            Business                            Number                    Existed


                                                                                         Do not include SSN or ITIN
 25. 45 GARRETT MOTION PORTUGAL, UNIPESSOAL, LDA        DORMANT                                                            -
        ATTN: GENERAL COUNSEL
        RUA SILVA CARVALHO, NO. 234, 7 ANDAR, PARISH OF
        SANTA ISABEL, 1250, LISBON, PORTUGAL

 25. 46 GARRETT MOTION ROMANIA S.R.L.                     MANUFACTURING AND                                                -
        ATTN: GENERAL COUNSEL                             SOFTWARE DEVELOPMENT
        244A IULIU MANIU BOULEVARD
        SECTO 6
        BUCHAREST, ROMANIA

 25. 47 GARRETT MOTION SÀRL                               HEADQUARTERS AND GLOBAL         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL                             POOL LEADER; THIRD PARTY
        ZONE D'ACTIVITÉS LA PIÈCE 16, 1180, ROLLE,        SALES
        SWITZERLAND

 25. 48 GARRETT MOTION SLOVAKIA S.R.O.                    MANUFACTURING                                                    -
        ATTN: GENERAL COUNSEL
        515 ZÁBORSKÉ
        ZÁBORSKÉ
        SLOVAKIA 082 53

 25. 49 GARRETT MOTION SPAIN, S.A.                        DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        CARRETERA C17, KM 17.7, 08400 GRANOLLERS
        (BARCELONA), SPAIN

 25. 50 GARRETT MOTION TECHNOLOGIES (INDIA) PRIVATE       MANUFACTURING, SALES AND                                         -
        LIMITED                                           ENGINEERING
        ATTN: GENERAL COUNSEL
        PLOT NO. 4A, RAISONI INDUSTRIAL ESTATE, NEAR
        HINJEWADI PHASE II, VILLAGE: MANN, TALUKA:
        MULSHI, PUNE, 411057, INDIA

 25. 51 GARRETT MOTION TECHNOLOGY (SHANGHAI) CO.,         MANUFACTURING, SALES,                                            -
        LTD.                                              SG&A FUNCTION FOR CHINA
        ATTN: GENERAL COUNSEL
        NO. 8 NIU DUN LU, ZHANGJIANG HI-TECH PARK,
        PUDONG NEW AREA, SHANGHAI, 210203, CHINA

 25. 52 GARRETT MOTION TECHNOLOGY (WUHAN) CO., LTD. MANUFACTURING AND SALES                                                -
        ATTN: GENERAL COUNSEL
        NO.3 FOZULINGSAN ROAD, EAST LAKE
        DEVELOPMENT ZONE, WUHAN CITY, CHINA (430079)
        PRC, CHINA




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                               Describe the Nature of the    Employer Identification     Dates Business
                                                          Business                            Number                    Existed


                                                                                       Do not include SSN or ITIN
 25. 53 GARRETT MOTION UK A LIMITED                     DORMANT                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 54 GARRETT MOTION UK B LIMITED                     DORMANT                                                          -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 55 GARRETT MOTION UK C LIMITED                     DORMANT                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 56 GARRETT MOTION UK D LIMITED                     HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 57 GARRETT MOTION UK LIMITED                       MANUFACTURING AND                                                -
        ATTN: GENERAL COUNSEL                           ENGINEERING
        115 GEORGE STREET
        4TH FLOOR
        EDINBURGH, UK EH2 4JN

 25. 58 GARRETT TRANSPORTATION I INC.                   MAIN US OPERATING ENTITY;       XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL                           HOLDS IP; R&D, ENGINEERING
        47548 HALYARD DRIVE                             AND SALES
        PLYMOUTH, MI 48170

 25. 59 GARRETT TRANSPORTATION SYSTEMS LTD [UK]         HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        UNIT E7 COUNTESS AVENUE, STANLEY GREEN
        RETAIL PARK , CHEADLE, HULME, STOCKPORT, SK8
        6QS, UNITED KINGDOM

 25. 60 GARRETT TRANSPORTATION SYSTEMS LTD.             OPERATING                                                        -
        [THAILAND]
        ATTN: GENERAL COUNSEL
        NO. 725, METROPOLIS BUILDING, SUITE 111, 20TH
        FLOOR, SUKHUMVIT ROAD, KHLONGTAN NUEA SUN-
        DISTRICT, WATTHANA DISTRICT, BANGKOK,
        THAILAND




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before
filing this case.
Include this information even if already listed in the Schedules.

      None


  Business Name and Address                               Describe the Nature of the    Employer Identification     Dates Business
                                                          Business                            Number                    Existed


                                                                                       Do not include SSN or ITIN
 25. 61 GARRETT TRANSPORTATION SYSTEMS UK II LTD        HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        UNIT E7 COUNTESS AVENUE, STANLEY GREEN
        RETAIL PARK , CHEADLE, HULME, STOCKPORT, SK8
        6QS, UNITED KINGDOM

 25. 62 GARRETT TS LTD                                  HOLDING                         XX-XXXXXXX                       -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 63 GARRETT TURBO LTD                               HOLDING                                                          -
        ATTN: GENERAL COUNSEL
        COUNTESS AVENUE
        STANLEY GREEN RETAIL PARK UNIT E7
        CHEADLE, UK SK8 6QS

 25. 64 OOO GARRETT TRANSPORTATION SYSTEMS              OPERATING                                                        -
        ATTN: GENERAL COUNSEL
        PROSPECT VERNADSKOGO 6, UNIT XCI, ROOM 58B,
        WORKSPACE №4, 119311, MOSCOW, RUSSIA,
        RUSSIAN FEDERATION

 25. 65 TURBODINA S.A.I.Y.C.                          DISTRIBUTOR                                                        -
        ATTN: GENERAL COUNSEL
        PANAMERICA KM 29, 5, ESQUINA FRANCIA, PACHECO
        (1618), BUENOS AIRES, ARGENTINA




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   Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

     None


 Name and Address                                                                           Dates of Service



 26a.1   FORMER CFO                                                                        From:    OCT 2018    To:   SEP 2019
         CONFIDENTIAL - AVAILABLE UPON REQUEST

 26a.2   PETER BRACKE                                                                      From:    OCT 2018    To:   JUN 2020
         C/O GARRETT MOTION INC.
         47548 HALYARD DRIVE
         PLYMOUTH, MI 48170

 26a.3   RUSSELL JAMES                                                                     From:    OCT 2018    To:
         C/O GARRETT MOTION INC.
         47548 HALYARD DRIVE
         PLYMOUTH, MI 48170

 26a.4   SEAN DEASON                                                                       From:    JUN 2020    To:
         C/O GARRETT MOTION INC.
         47548 HALYARD DRIVE
         PLYMOUTH, MI 48170




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Garrett Motion Inc.                                                                            Case Number:            20-12212


    Part 13:     Details About the Debtor's Business or Connections to Any Business


26. Books, records, and financial statements

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
financial statement within 2 years before filing this case.

      None


  Name and Address                                                                           Dates of Service



  26b. 1 DELOITTE & TOUCHE LLP                                                             From:       2018     To:
         4022 SELLS DRIVE
         DALLAS, TX 75284-4708

  26b. 2 DELOITTE SA                                                                       From:       2018     To:
         RUE DU PRE-DE-LA-BICHETTE 1
         GENEVA 01202




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Garrett Motion Inc.                                                                              Case Number:              20-12212


    Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

         None


  Name and Address                                                                      If any Books of Account and Records are
                                                                                        Unavailable, Explain Why


 26c.1    RUSSELL JAMES                                                                CHIEF ACCOUNTING OFFICER
          C/O GARRETT MOTION INC.
          47548 HALYARD DRIVE
          PLYMOUTH, MI 48170

 26c.2    SEAN DEASON                                                                  CHIEF FINANCIAL OFFICER
          C/O GARRETT MOTION INC.
          47548 HALYARD DRIVE
          PLYMOUTH, MI 48170




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    Part 13:      Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor
issued a financial statement within 2 years before filing this case.

       None


 Name and Address



  26d. 1   NONE




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    Part 13:         Details About the Debtor's Business or Connections to Any Business


27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      No
      Yes. Give the details about the two most recent inventories.


 Name of the Person who                     Name and Address of the Person           Date of Inventory   Dollar Amount   Basis
 Supervised the Taking of the               who has Possession of Inventory
 Inventory                                  Records


 27. 1 NONE




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    Part 13:       Details About the Debtor's Business or Connections to Any Business

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling
shareholders, or other people in control of the debtor at the time of the filing of this case.

  Name and Address                            Positition and Nature of any Interest     Percent of Interest, if any



28. 1   BALIS, CRAIG                         CHIEF TECHNOLOGY OFFICER, SVP
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 2   BRACKE, PETER                        CHIEF TRANSFORMATION OFFICER
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 3   CARLOS CORDOSO                       DIRECTOR
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 4   CLARK, MAURA J.                      DIRECTOR
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 5   DEASON, SEAN                         CHIEF FINANCIAL OFFICER
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 6   DEIRO, DANIEL                        SENIOR VICE PRESIDENT
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 7   ENGHAUSER, COURTNEY                  DIRECTOR
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 8   GRANDJEAN, CYRIL                     TREASURER
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 9   JAMES, RUSSELL                       CORPORATE CONTROLLER & VICE PRESIDENT
        C/O GARRETT MOTION INC.
        47548 HALYARD DRIVE
        PLYMOUTH , MI 48170
28. 10 LODATO, ANTHONY                       GENERAL MANAGER, AMERICAS, VP
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 11 MABRU, THIERRY                        SENIOR VICE PRESIDENT
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 12 MAIN, SUSAN L.                        DIRECTOR
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170




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   Part 13:      Details About the Debtor's Business or Connections to Any Business

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling
shareholders, or other people in control of the debtor at the time of the filing of this case.

  Name and Address                           Positition and Nature of any Interest    Percent of Interest, if any



28. 13 MAIRONI, JEROME P.                   SENIOR VICE PRESIDENT AND GENERAL
       C/O GARRETT MOTION INC.              COUNSEL
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 14 RABILLER, OLIVIER                    DIRECTOR, PRESIDENT & CHIEF EXECUTIVE
       C/O GARRETT MOTION INC.              OFFICER
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 15 REAGAN, SEAN                         VICE PRESIDENT, TAXES
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 16 REINHARDT, CARSTEN J.                DIRECTOR
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 17 SPENNINCK, FABRICE                   SENIOR VICE PRESIDENT
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 18 STOLL, JEROME                        DIRECTOR
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170
28. 19 TOZIER, SCOTT                        DIRECTOR
       C/O GARRETT MOTION INC.
       47548 HALYARD DRIVE
       PLYMOUTH , MI 48170




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        Part 13:       Details About the Debtor's Business or Connections to Any Business

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
positions?
    No
    Yes. Identify below.


 Name and Address                               Position and Nature of Interest     Period During Which Position Was Held



29. 1    BRACKE, PETER                         INTERIM CHIEF FINANCIAL OFFICER      From:   OCT 2019     To:    JUN 2020
         C/O GARRETT MOTION INC.
         47548 HALYARD DRIVE
         PLYMOUTH , MI 48170



29. 2    CONFIDENTIAL                          SENIOR VICE PRESIDENT & CHIEF        From:   OCT 2018     To:    SEP 2019
         AVAILABLE UPON REQUEST                FINANCIAL OFFICER




29. 3    CONFIDENTIAL                          DEPUTY GENERAL COUNSEL,              From:   MAR 2018     To:    APR 2020
         AVAILABLE UPON REQUEST                TREASURER




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        Part 13:          Details About the Debtor's Business or Connections to Any Business

30. Payments, Distributions, or Withdrawals Credited or Given to Insiders

 Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other
 compensation, draws, bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.


  Name and Address of Recipient and Relationship to Debtor               Amount           Dates   Reason for Providing the Value



30.1        REFER TO THE RESPONSE TO QUESTION 4.



                                                                                  -




                                                   TOTAL




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    Part 13:         Details About the Debtor's Business or Connections to Any Business

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
   No
   Yes. Identify below.


 Name of Parent Corporation                                    Employer Identification Number of the Parent Corporation



31. 1   GARRETT MOTION INC.                                      EIN:    XX-XXXXXXX




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    Part 13:          Details About the Debtor's Business or Connections to Any Business

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a
pension fund?
   No
   Yes. Identify below.


 Name of Pension Fund                                           Employer Identification Number of the Pension Fund



32. 1   GARRETT MOTION INC. PENSION PLAN                               EIN:      XX-XXXXXXX




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    Part 14:         Signature and Declaration

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a resonable belief that the
information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on:         November 3, 2020




Signature: /s/ Sean Deason                                            Sean Deason, Chief Financial Officer
                                                                      Name and Title




Are additional pages to the Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


  X No

      Yes
